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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION


CANDICE CALDWELL, et al.                                                      PLAINTIFFS


V.                                     Case No. 4:19-CV-550 JM


CITY OF LITTLE ROCK, et al.                                                   DEFENDANTS


                  ORDER GRANTING PLAINTIFFS’ MOTION TO DISMISS

        Plaintiffs have filed a motion to voluntarily dismiss their case without prejudice. The

Court finds that Plaintiffs’ motion to dismiss (docket #50) should be, and hereby is, granted.

The Clerk is directed to close the case. The pending motion for sanctions (docket # 48) is

denied as moot.

        The Court notes that Plaintiffs’ right to re-file the case against the Defendants is subject

to the provisions of Rule 41(d) of the Federal Rules of Civil Procedure. Under Rule 41(d), the

Plaintiffs may be ordered to pay any costs of this action which the Court deems appropriate if

Plaintiffs re-file the action against the Defendants.

        The Court will address any outstanding discovery disputes when and if Plaintiffs refile

their suit.

        IT IS SO ORDERED this 9th day of November, 2020.



                                                               ______________________________
                                                               James M. Moody, Jr.
                                                               United States District Judge
